 

Case 1:21-mj-00511-RMM Documenté6 Filed 07/02/21 Page 1of1

AQ 442 (Rev. 11/7) Arrest Warrant /} } 9998

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
v. ) Case: 1:21-mj-00511

FI DUONG (AKA: "Jim," "Monkey," & "Monkey Assan 6 oe ee Robin M.
ssign Date:

King”) Description: COMPLAINT W/ ARREST WARRANT
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested} FI DUONG ;
who is accused of an offense or violation based on the following document filed with the court:

© Indictment C) Superseding indictment Information ( Superseding Information J Complaint

( Probation Violation Petition O Supervised Release Violation Petition OViolation Notice © Order of the Court

This offense is briefly described as follows:

18 U.S.C. § £752(a)(1) and (2) - (1} knowingly enter or remain in any restricted building or grounds without lawful authority
to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds when,
or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or official functions;

40. U.S.C. § 5104(e)(2)(D) and (G) - Disorderly Conduct on Capitol Grounds;

18 U.S.C. § 1512(¢)(2) - Obstruction of an Official Proceeding. 2021.06.30

Po ~ Armpit — 16:53:42 -04'00'

fsstting officer's signatire

Date: 06/30/202 |

City and state: Washington. D.C. Robin M. Mcriweather, U.S. Magistrate Judge

Printed name and title

 

Return

 

A i i t
This warrant was received on /datey © 7/0) 202) , and the person was arrested on (late) O Jor. OR |

at (city and state} Wash in Kh

af DC
Date: O7 02/021 Tas lhl

ivresting officer's signature

Steven, Caldyell DEO

Primed name and title

 

 
